
PER CURIAM.
We have for review N.H. v. State, 627 So.2d 607 (Fla. 5th DCA 1993), which expressly relied upon a case pending review in this Court. B.H. v. State, 622 So.2d 615 (Fla. 5th DCA 1993), approved in part, 645 So.2d 987 (Fla.1994). We have jurisdiction. Art. V, § 3(b)(3), Fla. Const.; see Jollie v. State, 405 So.2d 418 (Fla.1981). The opinion is approved in light of B.H.
It is so ordered.
GRIMES, C.J., OVERTON and WELLS, JJ., and McDONALD, Senior Justice, concur.
HARDING, J., concurs in part and dissents in part with an opinion, in which KOGAN, J., concurs.
KOGAN, J., dissents with an opinion, in which SHAW, J., concurs. ,
